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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

 CHAMBER OF COMMERCE OF THE
 UNITED STATES OF AMERICA;
 LONGVIEW CHAMBER OF COMMERCE;
 AMERICAN BANKERS ASSOCIATION;
 CONSUMER BANKERS ASSOCIATION;
 INDEPENDENT BANKERS ASSOCIA-
 TION OF TEXAS; TEXAS ASSOCIATION
 OF BUSINESS; and TEXAS BANKERS AS-
 SOCIATION.
                             Plaintiffs,

 v.                                                   Case No. 6:22cv381

 CONSUMER FINANCIAL PROTECTION
 BUREAU; and ROHIT CHOPRA, in his offi-
 cial capacity as Director of the Consumer Fi-
 nancial Protection Bureau,
                                       Defendants.


                                             COMPLAINT
       Plaintiffs—Chamber of Commerce of the United States of America, Longview Chamber of

Commerce, American Bankers Association, Consumer Bankers Association, Independent Bankers

Association of Texas, Texas Association of Business, and Texas Bankers Association—bring this ac-

tion for equitable relief against Defendants, Consumer Financial Protection Bureau (CFPB) and Rohit

Chopra in his official capacity as Director of the CFPB. Plaintiffs primarily challenge the CFPB’s

recent update to the Unfair, Deceptive, or Abusive Acts or Practices (UDAAP) section of its exami-

nation manual.

                                          INTRODUCTION
       1.        The CFPB is an agency with “vast authority.” Seila L. LLC v. Consumer Fin. Prot. Bureau,

140 S. Ct. 2183, 2210 (2020). That vast authority makes the legal constraints that do exist all the more
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important. Yet the CFPB’s recent update is violating its statutory authority and the Administrative

Procedure Act in three main ways:

       2.      First, the CFPB is exceeding its statutory authority outlined in the Dodd-Frank Act.

The recent update to its examination manual adopts the novel position that the CFPB can examine

entities for alleged discriminatory conduct under its UDAAP authority. See CFPB Supervision and Ex-

amination Manual, Unfair, Deceptive, or Abusive Acts or Practices Section at 11, 13, 14, 17 (revised

Mar. 16, 2022) (Exhibit A). But the CFPB cannot regulate discrimination under its UDAAP authority

at all because Congress declined to give the CFPB authority to enforce anti-discrimination principles

except in specific circumstances. The CFPB’s statutory authorities consistently treat “unfairness” and

“discrimination” as distinct concepts. E.g., 12 U.S.C. §5511(b); §5481(13); §5493(c)(2)(A); §5531(c);

§5536(a)(1).

       3.      Second, the updated manual is “arbitrary” and “capricious.” 5 U.S.C. §706(2)(A). De-

spite admitting that its UDAAP authority is modeled on the FTC’s similar authority, Ex. A at 1 n.2, 2

n.4, the CFPB did not grapple with Congress’s decision to narrowly define the FTC’s unfairness au-

thority to screen out the same kind of power that the CFPB is now claiming for itself.

       4.      Worse, the CFPB reads Dodd-Frank as giving it the broadest possible authority to

regulate both disparate treatment and disparate impacts. In touting the update, the CFPB stated that

“[c]onsumers can be harmed by discrimination regardless of whether it is intentional,” so examiners

will consider “discriminatory outcomes.” See Halperin & Salas, Cracking Down on Discrimination in the

Financial Sector, CFPB (Mar. 16, 2022) (Exhibit B). While Plaintiffs support the enforcement of existing

nondiscrimination statutes, Dodd-Frank is not such a statute and does not come close to authorizing

the CFPB’s action.

       5.      Third, the CFPB’s updated manual violates the APA’s procedural requirements be-

cause it constitutes a legislative rule that failed to go through notice and comment. 5 U.S.C. §553.



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        6.      To be clear, the Chamber of Commerce of the United States of America, Longview

Chamber of Commerce, American Bankers Association, Consumer Bankers Association, Independ-

ent Bankers Association of Texas, Texas Association of Business, Texas Bankers Association, and

their respective members fully support the fair enforcement of nondiscrimination laws. Yet they can-

not stand by while a federal agency exceeds its statutory authority, creates regulatory uncertainty, and

imposes costly burdens on the business community. Especially when the CFPB did not even give the

public an opportunity to raise concerns through the APA’s notice-and-comment process.

        7.      This Court’s intervention is needed to ensure that the CFPB is accountable to legal

constraints, the rule of law, and the public as it pursues an aggressive agenda with far-reaching impli-

cations for the American economy, Plaintiffs, and their members.

                                   JURISDICTION AND VENUE
        8.      This Court has subject-matter jurisdiction because this case arises under the Constitu-

tion and laws of the United States. See U.S. Const. art III, §2; 28 U.S.C. §§1331, 2201; 5 U.S.C. §§701-

706.

        9.      This Court is authorized to award the requested relief under 5 U.S.C. §706; 28 U.S.C.

§1361; and 28 U.S.C. §§2201-02.

        10.     Venue is proper in this district because Defendants include United States agencies and

officers sued in their official capacities and because one of Plaintiffs resides here. See 28 U.S.C.

§1391(e)(1).

                                              PARTIES
        11.     Plaintiff Chamber of Commerce of the United States of America is the world’s largest

business federation. It represents approximately 300,000 direct members and indirectly represents the

interests of more than 3 million companies and professional organizations of every size, in every




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industry sector, and from every region of the country. An important function of the U.S. Chamber is

to represent the interests of its members before Congress, the executive branch, and the courts.

        12.    Plaintiff Longview Chamber of Commerce is a voluntary representative organization

of business and professionals who have joined together for the betterment of business, development

of tourism, development of downtown Longview potential, and the overall quality of life in Longview.

        13.    Plaintiff American Bankers Association (ABA) is the voice of the nation’s $23.7 trillion

banking industry, which is composed of small, regional and large banks that together employ more

than 2 million people, safeguard $19.6 trillion in deposits and extend $11.8 trillion in loans. ABA

advocates for banks before Congress, regulatory agencies and the courts to drive pro-growth policies

that help customers, clients and communities thrive.

        14.    Plaintiff Consumer Bankers Association (CBA) is the only national trade association

focused exclusively on retail banking. Established in 1919, the association is a leading voice in the

banking industry and Washington, representing members who employ nearly two million Americans,

extend roughly $3 trillion in consumer loans, and provide $270 billion in small business loans. Part of

its mission includes representing its members interests in various government settings.

        15.    Plaintiff Independent Bankers Association of Texas (IBAT) is the largest state com-

munity banking organization in the nation, with membership comprised of more than 2,000 banks

and branches in 700 Texas communities. Providing safe and responsible financial services to all Tex-

ans, IBAT member bank assets range in size from $27 million to $39 billion with combined assets

statewide of nearly $256 billion. IBAT member banks are committed to supporting and investing in

their local communities. IBAT advocates for and represents the interests of its members in various

settings.

        16.    Plaintiff Texas Association of Business (TAB) is the largest general business associa-

tion in the state as well as the Texas State Chamber of Commerce. TAB represents member



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companies, large and small, to create a policy, legal, and regulatory environment that allows them to

thrive in business.

        17.      Plaintiff Texas Bankers Association (TBA) is America’s oldest and largest state bank-

ing organization. TBA advocates for 400 member banks in Austin and Washington and invests in

Texas communities through financial literacy, scholarship, and charitable activities. TBA has a mem-

ber median asset size of approximately $357 million and our banks employ over 150,000 Texans. TBA

is dedicated to representing Texas community banks as well as institutions of all sizes and charter

types before the Texas Legislature, U.S. Congress, state and federal regulatory agencies, and, when

necessary, the courts.

        18.      Defendant CFPB is an agency of the United States. 12 U.S.C. §5491(a).

        19.      Defendant Rohit Chopra is the Director of the CFPB. Director Chopra is sued in his

official capacity.

I.      Federal rulemaking must comply with the Administrative Procedure Act.
        20.      The APA broadly waives the sovereign immunity of the United States and its federal

agencies. It lets parties who are adversely affected or aggrieved by agency action seek judicial review.

5 U.S.C. §§702, 704.

        21.      Under the APA, agency action must be vacated if it is “not in accordance with law” or

is “in excess of statutory jurisdiction, authority, or limitations.” 5 U.S.C. §706(2)(A) & (C).

        22.      The APA further dictates that a court “shall hold unlawful and set aside agency action,

findings, and conclusions found to be arbitrary, capricious, an abuse of discretion.” 5 U.S.C.

§706(2)(A). To meet this standard, “[f]ederal administrative agencies are required to engage in ‘rea-

soned decisionmaking.’ This necessarily means that ‘[n]ot only must an agency’s decreed result be

within the scope of its lawful authority, but the process by which it reaches that result must be logical




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and rational.’” Texas v. United States, 524 F. Supp. 3d 598, 652 (S.D. Tex. 2021) (quoting Allentown Mack

Sales & Serv., Inc. v. NLRB, 522 U.S. 359, 374 (1998)).

        23.     The APA also requires that an agency action be set aside if it is promulgated “without

observance of procedure required by law.” 5 U.S.C. §706(2)(D). Unless covered by an exception, all

agency rules must go through the APA’s notice-and-comment process. Texas, 524 F. Supp. 3d at 657.

A “rule” is “an agency statement of general or particular applicability and future effect designed to

implement, interpret, or prescribe law or policy,” including “the approval or prescription . . . of valu-

ations, costs, or accounting, or practices bearing on any of the foregoing.” 5 U.S.C. §551(4). This

definition includes “virtually every statement an agency can make.” Avoyelles Sportsmen’s League, Inc. v.

Marsh, 715 F.2d 897, 908 (5th Cir. 1983).

        24.     To that end, the APA distinguishes between “legislative rules” and “interpretive rules.”

The former are subject to the Act’s notice-and-comment requirements. 5 U.S.C. §553(b)(3)(A). In

determining whether a rule is legislative or interpretive, the agency’s label is not dispositive. Rather,

any rules that operate as “substantive agency regulations” are deemed legislative. Chrysler Corp. v. Brown,

441 U.S. 281, 295, 313-15 (1979). “Legislative or substantive rules are those which ‘affect individual

rights and obligations.’” Shell Offshore Inc. v. Babbitt, 238 F.3d 622, 628 (5th Cir. 2001).

        25.     Notice and comment provides a crucial and necessary safeguard against the conse-

quences of an unchecked federal administrative state. See Free Enterprise Fund v. Pub. Co. Accounting

Oversight Bd., 561 U.S. 477, 499 (2010) (“The growth of the Executive Branch, which now wields vast

power and touches almost every aspect of daily life, heightens the concern that it may slip from the

Executive’s control, and thus from that of the people.”).




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II.      The CFPB attempts to regulate discriminatory conduct under UDAAP violates the
         APA.
                A. The CFPB has broad jurisdiction.

         26.    In Dodd-Frank, Congress established the CFPB as an independent agency to “imple-

ment and … enforce Federal consumer financial law.” 12 U.S.C. §5511(a). The CFPB’s discrete pur-

pose is to “ensur[e] that all consumers have access to markets for consumer financial products and

services and that markets for consumer financial products and services are fair, transparent, and com-

petitive.” 12 U.S.C. §5511(a).

         27.    “Congress transferred the administration of 18 existing federal statutes to the CFPB,

including the Fair Credit Reporting Act, the Fair Debt Collection Practices Act, and the Truth in

Lending Act.” Seila Law, 140 S. Ct. at 2193. Congress also made it unlawful for entities, like Plaintiffs’

members, “to engage in any unfair, deceptive, or abusive act or practice.” 12 U.S.C. §5536(a)(1)(B).

         28.    Among other things, Congress gave the CFPB authority to “conduct investigations,

issue subpoenas and civil investigative demands, initiate administrative adjudications, and prosecute

civil actions in federal court.” Seila Law, 140 S. Ct. at 2193 (citing 12 U.S.C. §§5562, 5564(a), (f)).

Through those processes, the CFPB can seek penalties including restitution, rescission of contracts,

disgorgement, and injunctive relief. 12 U.S.C. §5565.

         29.    The CFPB was also granted the authority to “require reports and conduct examina-

tions on a periodic basis” of certain entities, including members of each Plaintiff, in order to “assess[]

compliance with the requirements of Federal consumer financial law,” and “obtain[] information

about the activities and compliance systems or procedures” of the examined entity. 12 U.S.C.

§§5514-15.

         30.    Plaintiffs each have members regulated by the CFPB under these statutes and enforce-

ment processes.




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                B. The CFPB uses examinations and enforcement actions to exercise its
                   UDAAP authority.
        31.     Dodd-Frank gave the CFPB authority to prohibit “unfair” acts or practices by covered

entities, among other laws that the CFPB enforces. See 12 U.S.C. §5536(a)(1)(B) (giving the CFPB the

authority to enforce a statute that makes it unlawful for a covered entity “to engage in any unfair,

deceptive, or abusive act or practice”). But in enacting Dodd-Frank, Congress chose not to provide

the CFPB with authority over alleged discrimination, except in specific circumstances.

        32.     Dodd-Frank authorized the CFPB to “prescribe rules applicable to a covered person

or service provider identifying as unlawful, unfair, deceptive, or abusive acts or practices in connection

with any transaction with a consumer for a consumer financial product or service, or the offering of

a consumer financial product or service,” including “requirements for the purpose of preventing such

acts or practices.” 12 U.S.C. §5531(b). In some cases, the CFPB has done so. See, e.g., 12 C.F.R. §1041.7

& Supp. I.

        33.     But here, the CFPB has elected simply to announce its exercise of UDAAP authority,

without notice or an opportunity for public comment, through its nearly 2,000-page Supervision and

Examination Manual. See CFPB, Supervision and Examination Manual (Mar. 2022), bit.ly/2HYQXLW.

The Supervision and Examination Manual explains that Dodd-Frank “authorizes it to supervise cer-

tain financial companies and large depository institutions and their affiliates for consumer protection

purposes.” CFPB Supervision and Examination Manual, Overview Section at 1 (revised Oct. 12, 2012)

(Exhibit C). As a result, the CFPB “has the responsibility to implement, examine for compliance with,

and enforce ‘Federal consumer financial law.’” Id. This law includes the requirement that CFPB mon-

itor compliance with Dodd-Frank’s prohibitions on “unfair, deceptive, or abusive acts and practices

in connection with consumer products and services.” Id.

        34.     CFPB’s examination of regulated entities is far-reaching. After going “onsite to ob-

serve, conduct interviews, and review … documents and information,” the CFPB decides whether the


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examination “indicates potential unfair, deceptive, or abusive acts or practices”; evaluates “the regu-

lated entity’s compliance management and its statutory and regulatory compliance”; and decides

whether there should be any “corrective actions that the institution should take, whether through

informal agreement or a formal enforcement action.” Id. at 5-6.

        35.     In other words, the CFPB examiners extensively review the regulated entity’s compli-

ance with UDAAP and the other federal laws that the CFPB enforces. But CFPB examiners do more

than just decide whether a regulated entity has violated federal law. They also review whether the entity

has adequate policies and procedures in place to prevent violations.

        36.     For UDAAP in particular, compliance requires substantial resources. To start with,

examiners “assess the quality of the regulated entity’s compliance risk management systems, including

internal controls and policies and procedures, for avoiding unfair, deceptive, or abusive acts or prac-

tices.” Ex. A at 11. They also “identify acts or practices” that examiners believe “materially increase

the risk of consumers being treated in an unfair, deceptive, or abusive manner.” Id.

        37.     To conduct that review and assess the entity’s compliance, examiners have carte

blanche to obtain and review copies of the entity’s internal documents, including: “Training materials,”

“Procedure manuals and written policies”; “Internal control monitoring and auditing materials”; and

“Minutes of the meetings of the Board of Directors and of management committees, including those

related to compliance.” Id. Examiners’ evaluations also include “reviewing all relevant written policies

and procedures” and “internal and external audit reports.” Id. at 12.

        38.     The examiners then make determinations on dozens of vaguely worded factors, in-

cluding whether the entity’s own compliance audits “include[] a review of potential unfair, deceptive,

or abusive acts or practices”; “Management and the Board of Directors are made aware of and review

significant deficiencies and their causes”; “Management has taken corrective actions to follow up on

any identified deficiencies”; and “[t]he entity’s compliance program includes an established process



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for periodic analysis and monitoring of all decision-making processes used in connection with con-

sumer financial products and services, and a process to take corrective action to address any potential

UDAAP concerns.” Id. at 12-13.

        39.       The examiners also “determine whether the entity’s internal controls are adequate to

prevent unfair, deceptive or abusive acts or practices.” Id. at 13. That determination is based on

whether the “compliance management program includes measures aimed at avoiding unfair, deceptive,

or abusive practices”; “The entity conducts prior UDAAP reviews on advertising and promotional

materials”; “The entity reviews new products and changes in terms and conditions of existing products

for potential UDAAP concerns”; “The entity has established policies and procedures to review, test,

and monitor any decision-making processes it uses for potential UDAAP concerns”; and “[t]he entity

has established policies and procedures to mitigate potential UDAAP concerns arising from the use

of its decision-making processes.” Id. at 13-14.

        40.       If the CFPB concludes that a regulated entity has violated UDAAP or that its compli-

ance program is inadequate, it may issue a “Matter Requiring Attention.” Supervision and Examination

Manual, Examinations and Targeted Reviews Section at 17 (revised Feb. 2019) (Exhibit D). A “Matter

Requiring Attention” will identify “specific goals to be accomplished” including “timeframes for pe-

riodic reporting of efforts taken to address these matters, as well as expected timeframes for imple-

mentation.” Id.

        41.       Until recently, the CFPB would also issue “Supervisory Recommendations.” A “Su-

pervisory Recommendation” did not “include provisions for periodic reporting or expected timelines

for implementation,” but the CFPB “[would] review through monitoring the steps institutions have

taken to address” a Supervisory Recommendation. Id. In March 2021, the CFPB eliminated the use of

Supervisory Recommendations, noting that “MRAs will more effectively convey our supervisory ex-

pectations.” CFPB Bulletin 2021-01 at 2 (Mar. 31, 2021), https://bit.ly/3LEJy4D.



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        42.     In some cases, the CFPB will refer a matter to its “Action Review Committee,” which

determines “whether matters that originate from examinations will be resolved through confidential

supervisory action, such as a board resolution or memorandum of understanding, or through a public

enforcement action.” CFPB, Supervisory Highlights at 27 (Summer 2015), bit.ly/3SuNhnL; see also CFPB,

Supervisory Highlights at 37-38 (Sept. 2017), bit.ly/3Srdgwk (“about one-third” of matters referred to

the Action Review Committee result in public enforcement proceedings).

        43.     The CFPB treats the entire process as producing confidential information that belongs

to the agency. Regulated entities are largely prohibited from disclosing information about the process

“without the prior written permission of the Director” of the CFPB. 12 C.F.R. §1070.47(a)(2). By any

name, this is regulation without any opportunity for public scrutiny and typifies the CFPB’s transpar-

ency and accountability problems.

        44.     Although a Matter Requiring Attention is not itself legally enforceable, the CFPB con-

siders a regulated entity’s “response ... when assessing an institution’s Compliance rating, or otherwise

considering the risks that an institution poses to consumers and to markets,” which “may be used by

the Bureau when prioritizing future supervisory work or assessing the need for potential enforcement

action.” Ex. D at 17. Draft examination reports are also shared with the entity’s prudential regulator,

which can take any number of actions against the entity based on the CFPB’s conclusions, including

adjustment to ratings, penalties, and enforcement actions. As a result, the CFPB’s examination find-

ings are not-so-confidential communications that can have significant public consequences.

        45.     If the CFPB chooses to bring an enforcement action based on findings it made during

the examination process, it may issue expansive penalties, including “civil monetary penalties,” “dis-

gorgement” of profits, “restitution,” and “[p]ublic notification regarding the violation.” Ex. A at 7.




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                C. The CFPB misinterprets its UDAAP authority to include discrimination.

        46.     Before this year, the CFPB had never interpreted its UDAAP authority to include the

power to regulate discriminatory conduct. Since its first iteration in October 2012, the manual made

no mention of discrimination in the UDAAP section. See CFPB, Unfair, Deceptive, or Abusive Acts or

Practices Examination Manual (revised Oct. 2012) (Exhibit E). To the contrary, the manual repeatedly

treated UDAAP and discrimination separately.

        47.     That changed earlier this year. See CFPB Targets Unfair Discrimination in Consumer Finance,

CFPB (Mar. 16, 2022) (Exhibit F). On March 16, the CFPB updated several portions of its examina-

tion manual to claim authority to regulate discrimination under its UDAAP authority.

        48.     First, the updated manual claims that its examination objectives include identifying

“acts or practices that materially increase the risk of consumers being treated in an unfair, deceptive,

or abusive manner, including discriminatory acts or practices.” Ex. A at 11 (emphasis added).

        49.     Second, the manual now dictates requirements that a regulated “entity’s compliance

program includes an established process for periodic analysis and monitoring of all decision-making

processes used in connection with consumer financial products or services, and a process to take

corrective action to address any potential UDAAP concerns related to their use, including discrimination.”

Id. at 13 (emphasis added)

        50.     Third, the manual now requires that a regulated “entity has established policies and

procedures to review, test, and monitor any decision-making processes it uses for potential UDAAP

concerns, including discrimination.” Id. at 14 (emphasis added). It also requires that a regulated “entity

has established policies and procedures to mitigate potential UDAAP concerns arising from the use

of its decision-making processes, including discrimination.” Id. (emphasis added). It instructs examiners

specifically to evaluate if an “entity has a process to take prompt corrective action if the decision-

making processes it uses produce deficiencies or discriminatory results.” Id. at 18.


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        51.      Fourth, the manual now requires that a regulated “entity ensures that employees and

third parties who market or promote products or services are adequately trained so that they do not

engage in unfair, deceptive, or abusive acts or practices, including discrimination.” Id. at 17 (emphasis

added). Regulated entities must also ensure “that employees and third party contractors refrain from

engaging in servicing or collection practices that lead to differential treatment or disproportionately

adverse impacts on a discriminatory basis.” Id. at 18.

        52.      Fifth, the manual instructs its examiners to obtain documentation from regulated en-

tities “regarding the use of models, algorithms, and decision-making processes used in connection

with consumer financial products and services”; “[i]nformation collected, retained or used regarding

customer demographics, including the demographics of customers using various products or ser-

vices”; and “any demographic research or analysis relating to marketing or advertising of consumer

financial products or services.” Id. at 12.

        53.      The CFPB did not hide its decision; it proclaimed that, after the update, “[d]iscrimi-

nation or improper exclusion can trigger liability under [the] ban on unfair acts or practices.” Ex. F.

As the CFPB explained things: “We will be expanding our anti-discrimination efforts to combat dis-

criminatory practices across the board in consumer finance.” Id. (emphases added). The CFPB also “will

examine for discrimination in all consumer finance markets, including credit, servicing, collections,

consumer reporting, payments, remittances, and deposits.” Id.

                 D. The CFPB’s “update” is causing significant compliance costs.

        54.      In its blog post published after the update, the CFPB stated that this update would

impose new obligations on regulated entities. CFPB examiners now “will require supervised compa-

nies to show their processes for assessing risks and discriminatory outcomes [i.e., “disparate impact”], includ-

ing documentation of customer demographics and the impact of products and fees on different de-

mographic groups.” Id. (emphasis added). And the CFPB “will look at how companies test and


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monitor their decision-making processes for unfair discrimination, as well as discrimination under [the

ECOA].” Id. (emphasis added).

        55.      The CFPB has redefined the unfairness prong of UDAAP. This redefinition means

that the CFPB can now examine for and enforce its novel interpretation. As a matter of course, the

CFPB shares violations it finds in examinations with the Enforcement Division, which results in En-

forcement opening investigations and lawsuits. The update is thus not a change that attempts to ex-

plain how the CFPB will examine an institution. Rather, it is a dictate that institutions must comply

with or face legal action.

        56.      All financial services companies are affected by the CFPB’s exercise of enforcement

authority in this new area. In fact, CFPB has already said that it will use the updated manual to do just

that. See Ex. B (“Under the updated examination guidelines, we will continue to scrutinize any conduct

of covered institutions that violates the federal prohibition against unfair practices, including deter-

mining if an entity has unfairly discriminated against certain people.”).

        57.      The CFPB’s addition of discrimination-related compliance issues adds to the already

burdensome UDAAP compliance regime. Yet the CFPB provided no instruction for the regulated

communities on what might constitute unfair discrimination or actionable disparate impacts. Several

points illustrate the confusion:

              a. The CFPB did not identify any protected classes or characteristics, as essentially all

                 nondiscrimination statutes must do. For example, ECOA prohibits discrimination on

                 the basis of race, color, religion, national origin, sex, marital status, age, receipt of pub-

                 lic assistance, or good faith exercise of any rights under the Consumer Credit Protec-

                 tion Act. But other federal antidiscrimination laws protect classes with different char-

                 acteristics. See, e.g., 29 C.F.R. §37.1 (implementing the “nondiscrimination …




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                provisions of the Workforce Investment Act of 1998” which include “age, disabil-

                ity, [and] political affiliation or belief,” among other unique criteria).

             b. ECOA expressly identifies certain activities that are not discrimination, such as inquir-

                ing about an applicant’s age or whether the applicant’s income derives from public

                assistance programs if such inquiries are “for the purpose of determining the amount

                and probable continuance of income levels, credit history, or other pertinent ele-

                ment[s] of credit-worthiness as provided in regulations of the Bureau.” 15 U.S.C.

                §1691(b)(2). The CFPB included no such guidance for its pronouncement.

             c. Nor did the CFPB explain how regulated entities, which are prohibited in some in-

                stances from collecting customer demographic information, are supposed to conduct

                the sort of assessments that the agency appears to be contemplating. See, e.g., 12 C.F.R.

                §1002.5(b)-(d).

       58.      These amendments to the manual harm Plaintiffs’ members by imposing heavy com-

pliance costs that are ultimately passed down to consumers in the form of higher prices and reduced

access to products. In fact, that’s the point. Director Chopra recently stated that the CFPB informs

industry how it will “exercise its supervisory authority and enforcement authority” by “publish[ing]

our examination manuals, which is essentially guidance to our examiners about what they might look

at when they decide in the scope of an exam to dig into a specific set of complaints or issues.” Jon

Hill, From Crypto to Apps, CFPB's Chopra Has Payments in Focus, Law360 (July 27, 2022) (Exhibit G).

       59.      To come into compliance with these new directives, Plaintiffs’ members have no

choice but to update their UDAAP compliance policies and programs, at significant cost, and they

will perpetually incur costs to remain in compliance.

       60.      Plaintiffs also have members who are not supervised by the CFPB but will be affected

by the updated manual. The CFPB is the agency charged by Congress with enforcing the UDAAP



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provision of the Dodd-Frank Act, 12 U.S.C. §5536(a)(1)(B), so any entity subject to the Dodd-Frank

provisions governing UDAAP is affected by the CFPB’s pronouncements. Plaintiffs each have mem-

bers not primarily regulated by the CFPB who provide consumer financial products and/or are service

providers for such products. Such entities are thus subject to Dodd-Frank’s prohibitions on UDAAP.

Compare 12 USC §5481(6) (defining a “covered person” for the purpose of the exercise of UDAAP

authority under Dodd-Frank as “(A) any person that engages in offering or providing a consumer

financial product or service; and (B) any affiliate of a person described in subparagraph (A) if such

affiliate acts as a service provider to such person”), with Ex. C at 1 n.2 (The CFPB claims “supervisory

authority” over “(1) non-depository consumer financial service companies and their service providers;

(2) large insured depository institutions, large insured credit unions, and their affiliates, as well as ser-

vice providers to these entities; and (3) service providers to a substantial number of small insured

depository institutions or small insured credit unions.” (citing 12 U.S.C. §5514-5517)).

                E. The CFPB’s updated manual exceeds its statutory authority.

        61.     The CFPB has stretched its UDAAP authority beyond the bounds carefully set by

Congress. In describing the update, the CFPB’s mistaken notion that “[d]iscrimination … can trigger

liability under [the] ban on unfair acts or practices” ignores the text, structure, and history of Dodd-

Frank, as well as similar legislation addressing agencies’ authority to regulate unfairness. Ex. F.

        62.     Dodd-Frank discusses “unfairness” and “discrimination” as two distinct concepts, and

it defines “unfairness” without making any reference to “discrimination” or disparate impact liability.

See Mtn. States Legal Found. v. Bush, 306 F.3d 1132, 1136 (D.C. Cir. 2002) (“The responsibility of deter-

mining the limits of statutory grants of authority … is a judicial function entrusted to the courts by

Congress by the statutes establishing courts and marking their jurisdiction.” (quoting Stark v. Wickard,

321 U.S. 288, 310 (1944))). Further, given the substantial “economic and political significance” the

CFPB’s interpretation would have, courts have “reason to hesitate before concluding that Congress


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meant to confer such authority.” West Virginia v. Env’t Prot. Agency, 142 S. Ct. 2587, 2608 (2022) (in-

ternal quotation marks omitted).

                 F. The CFPB’s updated manual is arbitrary and capricious.

        63.      The CFPB’s implementation of its expansive view of “unfairness” is also arbitrary and

capricious because it contradicts the historical use and understanding of the term. See Texas, 524 F.

Supp. 3d at 652 (requiring “reasoned decisionmaking”).

        64.      In 1938, Congress authorized the Federal Trade Commission (FTC) to protect con-

sumers from “unfair or deceptive acts or practices in or affecting commerce.” Pub. L. No. 75-447, 52

Stat. 111 (1938) (codified as amended at 15 U.S.C. §45(a)(1)). After initially leaving the term “unfair”

undefined, Congress later curtailed the Commission’s use of its unfairness authority. See Pub. L. No.

96-252, 94 Stat. 374 (1980) (codified as amended in scattered sections of 15 U.S.C.). It codified a

constrained definition of unfairness—that does not include discrimination—to limit the Commis-

sion’s ability to use unfairness to pursue unlimited public-policy goals. 15 U.S.C. §45(n). These efforts

confirm that the “unfairness” authority conferred by Congress did not extend to discrimination.

        65.      This context is important because Congress borrowed the unfairness definition that

governs the CFPB from the Federal Trade Commission Act. See Ex. A at 1 n.2, 2 n.4. As Director

Chopra conceded in recent testimony, “‘[U]nfairness’ … derive[s] from the FTC Act. It is identical

language.” The Consumer Financial Protection Bureau’s Semi-Annual Report to Congress, Hearing before the Senate

Comm. on Banking, Hous., and Urb. Affairs, 117th Cong. (2022) (statement of Rohit Chopra, Director of

the CFPB). Where Congress borrows terms of art from other acts, it presumably conveys the same

meaning. Morissette v. United States, 342 U.S. 246, 263 (1952).

        66.      What’s more, the CFPB’s contemplation of disparate-impact liability—a specific form of

liability that not even most antidiscrimination laws create—flouts congressional intent and Supreme

Court precedent. See Ex. A at 15 (addressing determinations “that result in discrimination”).


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        67.     CFPB has confirmed several times that its updated manual covers disparate-impact

liability. For example, the CFPB stated that “[c]onsumers can be harmed by discrimination regardless

of whether it is intentional,” so CFPB examiners now consider “discriminatory outcomes.” Ex. F.

And the CFPB stated elsewhere that actions producing “disparate treatment or a discriminatory out-

come … fall squarely within our mandate to address and eliminate unfair practices.” Ex. B. Yet neither

Director Chopra (Ex. F) nor his colleagues (Ex. B) root this expansion of the agency’s authority in

anything besides existing UDAAP authority.

        68.     This position cannot be squared with the Supreme Court’s admonition that statutes

can authorize disparate-impact liability only in narrow circumstances. Tex. Dep’t of Hous. & Cmty. Af-

fairs v. Inclusive Communities Proj., Inc., 576 U.S. 519, 534 (2015). Namely, the Supreme Court has required

two conditions to imply disparate-impact liability is permissible: the statute must be an antidiscrimi-

nation law, and the statute must contain results-oriented language demonstrating that it is designed to

impose liability for disparate-impact claims. Id.

        69.     Dodd-Frank has neither characteristic: It is not an antidiscrimination statute, and nei-

ther it nor any of the other relevant statutes have any results-oriented language showing that Congress

intended for the CFPB to address disparate-impact claims. Accordingly, Dodd-Frank provides no

textual support for the notion that Congress authorized the CFPB to pursue disparate-impact claims

under its UDAAP authority.

        70.     Additionally, the CFPB’s manual update also ignores the reliance interests which have

grown up around its prior approach to UDAAP authority. See Encino Motorcars, LLC v. Navarro, 136 S.

Ct. 2117, 2126 (2016) (“In explaining its changed position, an agency must also be cognizant that




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longstanding policies may have ‘engendered serious reliance interests that must be taken into ac-

count.’”).*

        71.      This unreasoned change does not clear the APA’s arbitrary-and-capricious standard.

It fails to consider the CFPB’s prior position on UDAAP authority, provides no well-founded reasons

for the update, and does not consider reliance interests. See Dep’t of Homeland Sec. v. Regents of the Univ.

of California, 140 S. Ct. 1891, 1913 (2020) (“State Farm teaches that when an agency rescinds a prior

policy its reasoned analysis must consider the “alternative[s]” that are “within the ambit of the existing

[policy].”); F.C.C. v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009) (“[T]he requirement that an

agency provide reasoned explanation for its action would ordinarily demand that it display awareness

that it is changing position.”).

        72.      The manual update is thus arbitrary and capricious. 5 U.S.C. §706(2)(A).

                 G. The updated manual violates the APA’s notice-and-comment requirement.

        73.      With exceptions not relevant here, the APA requires legislative rules to go through the

rigors of notice and comment. Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 96 (2015); U.S. Dep’t of Labor

v. Kast Metals Corp., 744 F.2d 1145, 1153 n.17 (5th Cir. 1984) (“‘Section 553 was enacted to give the

public an opportunity to participate in the rule-making process. It also enables the agency promulgat-

ing the rule to educate itself before establishing rules and procedures which have a substantial impact

on those who are regulated.’”).




        *
         Even if UDAAP authority could be interpreted to include discrimination claims, due process
would bar the CFPB from attempting to hold companies responsible under this new UDAAP defini-
tion for conduct before the CFPB announced its new definition. PHH Corp. v. CFPB, 839 F.3d 1, 44
(D.C. Cir. 2016) reh'g en banc granted, order vacated (Feb. 16, 2017), on reh’g en banc, 881 F.3d 75 (D.C. Cir.
2018) (“But change becomes a problem—a fatal one—when the Government decides to turn around
and retroactively apply that new interpretation to proscribe conduct that occurred before the new
interpretation was issued.”).


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          74.    The updated manual is a legislative rule subject to the APA’s notice-and-comment

requirement because it “change[s] the legal status of regulated parties” by subjecting them to supervi-

sion and examination on discrimination under UDAAP. Mann Constr., Inc. v. United States, 27 F.4th

1138, 1143 (6th Cir. 2022); see also Texas v. United States, 809 F.3d 134, 171 (5th Cir. 2015) (exceptions to

notice and comment “must be narrowly construed”).

          75.    Indeed, the update sets out a substantive rule that the CFPB will carry out when reg-

ulating. See Prof’ls. & Patients for Customized Care v. Shalala, 56 F.3d 592, 595 (5th Cir. 1995) (the focus

is “primarily on whether the rule has binding effect on agency discretion or severely restricts it”). Put

another way, the update “marks the consummation of the agency’s decisionmaking process,” and

“legal consequences” will flow from it. U.S. Army Corps of Eng’rs v. Hawkes Co., 136 S. Ct. 1807, 1813

(2016).

          76.    The update specifically “impose[s] new … duties” on businesses by empowering ex-

aminers to investigate—and thus requiring businesses to keep—certain records and policies. Mann

Constr., 27 F.4th at 1143; see also Ex. F (confirming the update’s finality and explaining that discrimina-

tion can presently “trigger liability” for regulated entities under the UDAAP authority).

          77.    That the CFPB was revising the previous manual does not excuse the CFPB from the

APA’s procedural requirements. See Clean Water Action v. United States Envtl. Prot. Agency, 936 F.3d 308,

312 (5th Cir. 2019) (An agency must “follow the same process to revise a rule as it used to promulgate

it.” (citing Perez, 575 U.S. at 100)).

          78.    The update is not a mere clarification of existing rules, but imposes new substantive

obligations on regulated entities without going through the required notice-and-comment procedure

under the APA.




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        79.       The CFPB’s action, taken without legislative authority, opens the door to uncertain

and excessive regulation in the financial marketplace that imposes significant financial burdens on

Plaintiffs, their members, and the public.

                                        CLAIMS FOR RELIEF
                                             COUNT I
                                          Updated Manual
                         Violation of the APA: Exceeds Statutory Authority
                             (5 U.S.C. §706(2)(A), (C); 12 U.S.C. §5536)
        80.       Plaintiffs repeat and reincorporate all their prior allegations.

        81.       Under the APA, a “reviewing court shall … hold unlawful and set aside agency action

... found to be ... not in accordance with law” or “in excess of statutory jurisdiction, authority, or

limitations.” 5 U.S.C. §706(2)(A), (C).

        82.       Dodd-Frank created the CFPB and gave it authority to enforce a statute that makes it

unlawful for an entity “to engage in any unfair, deceptive, or abusive act or practice.” 12 U.S.C.

§5536(a)(1)(B).

        83.       The CFPB’s March 2022 updated manual exceeds the CFPB’s statutory authority by

adding discrimination to its UDAAP authority. Dodd-Frank does not authorize the CFPB to regulate

discrimination under that distinct authority.

        84.       The updated manual is final agency action under the APA because it imposes concrete

obligations on Plaintiffs’ members.

        85.       Because the updated manual contravenes the limits of the CFPB’s power under Dodd-

Frank, the update violates the APA and should be set aside.

                                              COUNT II
                                           Updated Manual
                           Violation of the APA: Arbitrary and Capricious
                                         (5 U.S.C. §706(2)(A))
        86.       Plaintiffs repeat and reincorporate all their prior allegations.



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        87.         A “reviewing court shall ... hold unlawful and set aside agency action ... found to be

arbitrary, capricious, [or] an abuse of discretion.” 5 U.S.C. §706(2)(A).

        88.         Despite acknowledging that its UDAAP authority is modeled on the FTC’s unfairness

authority, the CFPB failed to grapple with Congress’s decision to narrow the FTC’s authority in a way

that does not include discrimination. The updated manual is thus arbitrary and capricious because it

contradicts the historical use and understanding of the term “unfair.”

        89.         The CFPB also failed to adopt safeguards that are essential for pursuing disparate-

impact liability.

        90.         Because the updated manual is arbitrary and capricious with respect to its expansion

of UDAAP authority, it is invalid and should be set aside.

                                                 COUNT III
                                              Updated Manual
                                Violation of the APA: Notice and Comment
                                               (5 U.S.C. §553)
        91.         Plaintiffs repeat and reincorporate all their prior allegations.

        92.         The updated manual is a legislative rule subject to the APA’s notice-and-comment

requirement.

        93.         The CFPB did not submit the updated manual for notice and comment.

        94.         Because the updated manual violates the APA, it is invalid and should be set aside.

                                                 COUNT IV
                                         CFPB’s Funding Structure
                                   Violation of the Appropriations Clause
                                         (U.S. Const. art I, §9, cl. 7)
        95.         Plaintiffs repeat and reincorporate all their prior allegations.

        96.         In addition to all the defects with the manual update noted above, it was also issued

with funds not properly appropriated in accordance with law.




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        97.      The Appropriations Clause requires legislative appropriations prior to executive ex-

penditures. U.S. Const. art I, §9, cl. 7.

        98.      Contrary to the ordinary process for annual appropriations from Congress, the CFPB

has an unprecedented level of budgetary independence, under which it requisitions funds directly from

the Federal Reserve, without involvement or oversight by Congress. For an agency that exercises vast

executive authority, such budgetary independence defies the separation of powers. See Consumer Fin.

Prot. Bureau v. All Am. Check Cashing, Inc., 33 F.4th 218, 232 (5th Cir. 2022) (Jones, J., concurring) (“The

CFPB’s budgetary independence makes it unaccountable to Congress and the people. An agency that

wields vast amounts of executive, legislative, and adjudicatory power and is completely unaccountable

to Congress is inimical to the Constitution’s structural checks and balances.”).

        99.      The CFPB’s funding scheme is distinct from other financial regulators that enjoy some

level of self-funding. See id. at 235-36 (distinguishing the CFPB’s unique funding structure from that

of the Federal Reserve Board, the Federal Deposit Insurance Corporation, and the Office of the

Comptroller of the Currency because (1) “the mission and corresponding authority of those agencies

is more targeted”; (2) “both the Federal Reserve and the Federal Deposit Insurance Corporation op-

erate as independent agencies”; (3) each agency maintains “some level of political accountability”

through “multimember leadership” and its relationship with regulated entities; and (4) no other agency

with some measure of budgetary independence “wields enforcement or regulatory authority remotely

comparable to the authority the CFPB may exercise throughout the economy”).

        100.     The CFPB relies on this unconstitutional funding scheme to carry out its overly ex-

pansive UDAAP authority to Plaintiffs’ detriment.

        101.     Because the CFPB’s funding structure violates the Appropriations Clause, this Court

should declare that structure unconstitutional and set aside the manual update. A narrow ruling




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regarding the CFPB’s unique funding structure would not affect other agencies who lack the same

markers of vast regulatory power without political accountability.

                                       PRAYER FOR RELIEF
       Plaintiffs ask this Court to enter judgment in their favor and to provide the following relief:

           a. a declaration that the CFPB’s March 2022 update to its manual exceeds the agency’s

                statutory authority;

           b. a declaration that the CFPB’s March 2022 update to its manual is arbitrary and capri-

                cious;

           c. a declaration that the CFPB’s March 2022 update to its manual is invalid because the

                CFPB failed to submit it through proper notice-and-comment rulemaking procedures;

           d. a declaration that the CFPB’s funding structure, upon which it relies to exercise its

                UDAAP authority, violates the Appropriations Clause;

           e. an injunction setting aside the CFPB’s March 2022 update to the manual;

           f. an injunction preventing the CFPB from pursuing any examinations or enforcement

                actions based on the interpretation of its UDAAP authority announced in the March

                2022 update;

           g. an injunction ordering the CFPB to cease accepting funds in violation of the Appro-

                priations Clause;

           h. attorney’s fees and costs incurred in relation to this case; and

           i.   all other relief to which Plaintiffs are entitled that the Court deems just and proper.




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Dated: September 28, 2022               Respectfully Submitted,


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